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                                     #:7443


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10                        UNITED STATES DISTRICT COURT
11                      CENTRAL DISTRICT OF CALIFORNIA
12                                  SOUTHERN DIVISION
13
     ENTROPIC COMMUNICATIONS, LLC,              Case No.: 2:23-cv-01043-JWH-KES
14                                              (Lead Case)
                       Plaintiff,               Case No.: 2:23-cv-01047-JWH-KES
15
                                                (Related Case)
16         v.
                                                Case No.: 2:23-cv-01048-JWH-KES
17   DISH NETWORK CORPORATION, et               (Related Case)
     al.,                                       Case No.: 2:23-cv-05253-JWH-KES
18                                              (Related Case)
19                     Defendants.

20
     ENTROPIC COMMUNICATIONS, LLC,              [Assigned to the Honorable John W.
                                                Holcomb]
21                     Plaintiff,
                                                PLAINTIFF ENTROPIC
22         v.                                   COMMUNICATIONS, LLC’S
                                                NOTICE OF ERRATA RE SECOND
23                                              AMENDED COMPLAINT (DKT.
     COX COMMUNICATIONS, INC., et al.,          190)
24
                       Defendants.
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                                    NOTICE OF ERRATA
Case 2:23-cv-01043-JWH-KES     Document 204       Filed 12/15/23   Page 2 of 4 Page ID
                                    #:7444


 1
     ENTROPIC COMMUNICATIONS, LLC,
 2
                      Plaintiff,
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 4
          v.

 5   COMCAST CORPORATION, et al.,
 6                    Defendants.
 7   ENTROPIC COMMUNICATIONS, LLC,
 8                    Plaintiff,
 9        v.
10
     DIRECTV, LLC, et al.,
11
                      Defendants.
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                                              1                                RECYCLED PAPER
                                   NOTICE OF ERRATA
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                                      #:7445


 1         TO THE COURT AND ALL PARTIES AND THEIR ATTORNEYS OF
 2   RECORD:
 3         PLEASE TAKE NOTICE that Entropic Communications, LLC’s (“Entropic”)
 4   hereby provides this notice of errata to correct two inadvertent errors in its Second
 5   Amended Complaint (“SAC”) (Dkt. 190).
 6         Specifically, the SAC erroneously referred to willful infringement, instead of
 7   willful misappropriation when referring to Comcast’s misappropriation of MaxLinear’s
 8   trade secrets.
 9         Filed concurrently herewith is the Corrected version of Entropic’s SAC that
10   corrects certain allegations of “willful infringement” of trade secrets by replacing those
11   references with misappropriation of trade secrets at Paragraph 111 and deleting
12   Paragraph 112 entirely. Paragraph 111 has additionally been modified to further clarify
13   the allegations of trade secret misappropriation made therein. The Correct SAC is
14   otherwise identical to Dkt. 190 in all material respects. The Corrected SAC contains the
15   very same redactions approved by the Court’s Order granting Entropic’s application to
16   file its SAC under seal (Dkt. 199), but Entropic separately and concurrently will file an
17   Application to file under seal an un-redacted copy of the SAC, which it will likewise
18   promptly serve upon counsel of record for Defendants.
19

20   Dated: December 15, 2023                              Respectfully Submitted,
21                                                   By: /s/ Christina N. Goodrich______
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                                  #:7446


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12                                              Attorneys for Plaintiff, Entropic
                                                Communications, LLC
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